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                                                          UNITED STATES BANKRUPTCY COURT                                    08-51286
                                                         MIDDLE DISTRICT OF NORTH CAROLINA

 In Re:                                                                                          )
               Raimond B. Hall                                                                   )        Case No.
               160-7 Kinder Rd.
                                                                                                 )        Chapter 13
               Winston Salem, NC 27107
                                                                                                 )
               Terry B Hall                                                                      )
               160-7 Kinder Rd.                                                                  )
               Winston Salem, NC 27107                                                           )
                                                                                                 )
                                                                                                 )
                                                                                                 )



 SS#           xxx-xx-8855                                                                       )
 SS#           xxx-xx-0850                                                                       )
                                                       Debtor(s)                                 )



                                                    NOTICE TO CREDITORS AND PROPOSED PLAN



The Debtor(s) filed for relief under Chapter 13 of the United States Bankruptcy Code on August 5, 2008 .

The filing automatically stays collection and other actions against the Debtor, Debtor's property and certain co-
debtors. If you attempt to collect a debt or take other action in violation of the bankruptcy stay you may be
penalized.

Official notice will be sent to creditors, which will provide the name and address of the Trustee, the date and time
of the meeting of creditors, and the deadline for objecting to the plan. The official notice will include a proof of
claim form.

A creditor must timely file a proof of claim with the Trustee in order to receive distributions under the plan. The
Trustee will mail payments to the address provided on the proof of claim unless the creditor provides another
address in writing for payments. If the proof of claim is subsequently assigned or transferred, the Trustee will
continue to remit payment to the original creditor until a formal notice of assignment or transfer is filed with the
Court.




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                                                                        CHAPTER 13 PLAN SUMMARY                                              08-51286

             The Debtor proposes an initial plan, which is subject to modification, as follows:

I.           Plan Payments

             The plan proposes a payment of $785.00 per month for a period of             60                        months. The Debtor shall commence payments
             to the Trustee within thirty (30) days from the date the petition was filed.

II.          Administrative Costs

             1.        Attorney fees.

                             The attorney for the Debtor will be paid the base fee of $3,000.00. The Attorney has received $500.00 from the
                             Debtor pre-petition and the remainder of the base fee will be paid monthly by the Trustee as funds are available,
                             after scheduled monthly payments to holders of domestic support obligations and allowed secured claims.

                             The Attorney for the Debtor will file application for approval of a fee in lieu of the presumptive fee.

             2.        Trustee costs. The Trustee will receive from all disbursements such amount as approved by the Court for payment of
                       fees and expenses

III.         Priority Claims

             All pre-petition claims entitled to priority under 11 U.S.C. § 507 will be paid in full in deferred cash payments unless
             otherwise indicated.

             1.        Domestic Support Obligations ("DSO")

             a.            None

             b.        The name, address, and phone number, including area code, of the holder of any DSO as defined in § 101(14A) is as
                       follows:

 Name of DSO Claimant                             Address, city, state & zip code                                                      Telephone Number


             c.        All post-petition DSO amounts will be paid directly by the Debtor to the holder of the claim and not by the Trustee.

             d.        Arrearages owed to DSO claimants under 11 U.S.C.§ 507(a)(1)(A) not presently paid through wage garnishment will
                       be paid by the Trustee as follows:

 Name of DSO Claimant                                                                        Estimated Arrearage Claim                       Monthly Payment


             2.        Other priority claims to be paid by Trustee

 Creditor                                                                                                                              Estimated Priority Claim
 Davidson County Tax Collector                                                                                                                            $97.00




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IV.          Secured Claims                                                                                                                      08-51286
             1.        Real Property Secured Claims

             a.            None

             b.        All payments on any claim secured by real property will be paid by the Trustee unless the account is current, in which
                       case the Debtor may elect to continue making mortgage payments directly. Arrearage claims will be paid by the
                       Trustee as separate secured claims over the term of the plan, without interest.

 Creditor                                   Property Address                                 Residence or    Current          Monthly      Arrearage     If Current
                                                                                             Non-residence    Y/N             Payment       Amount        Indicate
                                                                                                R/NR                                                    Payment by
                                                                                                                                                       Debtor (D) or
                                                                                                                                                        Trustee (T)
 1997 Fleetwood Cornada
 MH                                         1997 Fleetwood Cornada MH                             R             N              278.91       1394.55            T

             2.        Personal Property Secured Claims

             a.            None

             b.        Claims secured by personal property will be paid by the Trustee as follows:

 Creditor                         Collateral                                   Secured Purchase                  Under-             Pre-           Post- Proposed
                                                                               Amount Money                     secured    confirmation    confirmation Interest
                                                                                         Y/N                    Amount         adequate           Equal    Rate
                                                                                                                              protection       Monthly
                                                                                                                          payment per §        Amount
                                                                                                                             1326(a)(1)          (EMA)
                                  2003 Ford Windstar
 New Bridge Bank                  LX 100,000 miles                          $5,445.00             N           $4,555.00           $0.00        $215.20         11%
 Wachovia Dealer
 Services                         2000 Ford Focus                           $4,365.00             N           $3,455.55           $0.00        $172.51         11%

             The Trustee will disburse pre-confirmation adequate protection payments to secured creditors holding allowed purchase
             money secured claims. Claims having a collateral value of less than $2,000.00 will not receive adequate protection payments.

             To the extent that the valuation provisions of 11 U.S.C. § 506 do not apply to any of the claims listed above, the creditor's
             failure to object to confirmation of the proposed plan shall constitute the creditor's acceptance of the treatment of its
             claim as proposed, pursuant to 11 U.S.C. § 1325(a)(5)(A).

             3.        Collateral to be Released

             The Debtor proposes to release the following collateral:

 Creditor                                                                                         Collateral to be Released
 Citifinancial                                                                                    1997 Dodge Intrepid -to be released

             4.        Liens to be Avoided

             The Debtor pursuant to 11 U.S.C. § 522 proposes to avoid the following liens on property to the extent that such liens impair
             the Debtor's exemption:

 Lien Creditor                                                                                    Property
 -NONE-




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V.           Co-Debtor Claims                                                                                                                    08-51286
             The Debtor proposes to separately classify for payment in full the following claims for consumer debts on which an individual
             is liable with the Debtor:

 Creditor                                                               Co-Debtor                                         Interest Rate          Monthly Payment
 -NONE-

VI.          General Unsecured Claims Not Separately Classified

             General unsecured claims will be paid on a pro-rata basis, with payments to commence after priority unsecured claims are
             paid in full. The estimated dividend to general unsecured claims is 0 %.

VII.         Executory Contracts/Leases

             a.            None

             b.        The following executory contracts and/or leases will be rejected:

 Creditor                                                                                        Nature of lease or contract
 Wiley Nifong, Sr.                                                                               Residential lot rent lease

             c.        The following executory contracts and/or leases will be assumed. The Debtor will pay directly all lease payments
                       which come due from the petition filing date until confirmation of the plan. Upon confirmation, payments will be paid
                       as follows:

 Creditor                              Nature of Lease or Contract                                Monthly    Monthly           Arrearage Arrearage        Arrearage
                                                                                                  payment    payment            Amount paid by             monthly
                                                                                                             paid by                      Debtor           payment
                                                                                                              Debtor                      (D) or
                                                                                                              (D) or                      Trustee
                                                                                                             Trustee                        (T)
                                                                                                               (T)
 Wiley Nifong, Sr.                     residential lot rent                                         110.00      T                220.00      T                  20.00

VIII.        Special Provisions

             a.            None

             b.        Other classes of unsecured claims and treatment

             c.        Other Special Terms




 Date: August 5, 2008                                                                        /s/ A. Carl Penney
                                                                                             A. Carl Penney 003412
                                                                                             Attorney for the Debtor
                                                                                             Address:         P.O. Box 21103
                                                                                                             Winston-Salem, NC 27120-1103
                                                                                             Telephone:      336-725-0297
                                                                                             State Bar No.   003412




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                                                              UNITED STATES BANKRUPTCY COURT                                      08-51286
                                                             MIDDLE DISTRICT OF NORTH CAROLINA

 In Re:                                                                                          )
               Raimond B. Hall                                                                   )                 NOTICE TO CREDITORS
               Terry B Hall                                                                      )                         AND
                                                                                                 )                   PROPOSED PLAN
 SS#           xxx-xx-8855                                                                       )
 SS#           xxx-xx-0850                                                                       )            Case No.
                                                       Debtor(s)                                 )




                                                                            CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the Notice to Creditors and Proposed Plan was served by first class mail, postage prepaid, to
the following parties at their respective addresses:

Reid Wilcox
Clerk of Court
U.S. Bankruptcy Court
Middle District of North Carolina
P.O. Box 26100
Greensboro, NC 27402
Kathryn L. Bringle
Chapter 13 Trustee
Winston-Salem Division
Post Office Box 2115
Winston-Salem, NC 27102-2115
AT& T
P.O. Box 105503
Atlanta, GA 30348
Citifinancial
2650 Peters Creek Parkway
Winston Salem, NC 27127
Credit Bureau
P.O. Box 26140
Greensboro, NC 27402
Davidson County Tax Collector
28 W Center St.
Lexington, NC 27292
Employment Security Commission
P.O. Box 26504
Raleigh, NC 27611
Greentree
P.O. Box 6172
Rapid City, SD 57709-6172
Medical Data Systems
2001 9th Ave., Suite 312
Vero Beach, FL 32960
Midland Funding
c/o Smith Debnam Narron and Wyche
P.O. Box 26268
Raleigh, NC 27611-6268
New Bridge Bank
P.O. Box 867
Lexington, NC 27293-0867
Newbridge Bank
38 West First Ave.
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Lexington, NC 27293
OSI
                                                                                                                                   08-51286
200 S. Executive Dr. 3rd Floor
Brookfield, WI 53008-0933
Perry Gale Stone, MD
P.O. Box 426
King, NC 27021
Sears
c/o NCO Financial
507 Prudential Rd.
Trenton, NJ 08650-4907
Wachovia Dealer Services
P.O. Box 25341
Santa Ana, CA 92799-5341
Wiley Nifong
310 Kinder Rd.
Dobson, NC 27017
Care Credit/GEMB
P.O. Box 981439
El Paso, TX 79998




 Date:        August 5, 2008                                                                 /s/ A. Carl Penney
                                                                                             A. Carl Penney 003412




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